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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                    Case No. 1:22cr30 AW

MATTHEW SIMON GRIMM
                                       /

           BILL OF PARTICULARS REGARDING FORFEITURE

      COMES NOW, the United States of America, by and through its

undersigned Assistant United States Attorney, and, pursuant to Rule 32.2(a) of the

Federal Rules of Criminal Procedure, now particularly alleges that the following

property is subject to forfeiture on the basis of the allegations in the Superseding

Indictment filed in the above-styled criminal case:

          A. 20.000293 Bitcoin seized from the cryptocurrency wallet with

             recovery seed where the first two words were “accident connect”

             containing the address:

             17oWp4TCtYz8FwUnhwx3RpyWsWvdhMz6jn;

          B. 20.77381615 Bitcoin, 3,004,993.651899 Tron, 2,000,000.53 VeChain,

             7,969.971897 Tezos, 100,000.147385 MATIC, 615.018 ATOM, and

             100,921.827 ZIL seized from the cryptocurrency wallet with recovery




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     seed where the first two words were “color other” containing the

     address: 1LAh7PQwpd1uGiLHae5C5Xz9QXse3y2phq;

  C. 30.67925161 Bitcoin, 100,062.1924 Golem, 99.92211748095962364

     Ethereum, and 79,990.579233 Ripple seized from the cryptocurrency

     wallet with recovery seed where the first two words were “cube labor”

     containing the address:

     1P9tZhSjRAYXBHB5UrLS4USYs4KUJbqtUg;

  D. 35.00779008 Bitcoin, 31.005839144602611971 Ethereum,

     371,767.514926 Cardano, and 19,990.855385 Ripple seized from the

     cryptocurrency wallet with recovery seed where the first two words

     were “fossil foster” containing the address:

     13MkT2G99YXv2p6iGALAvx53moTHjwbDVi;

  E. 1.99765087 Bitcoin seized from the cryptocurrency wallet with

     recovery seed where the first two words were “issue pill” containing

     the address: 15yqWQ4sqr7jzCwDtZ3U1KaCa8WMEy7Mm2;

  F. 42.59760482 Bitcoin seized from the cryptocurrency wallet with

     recovery seed where the first two words were “rain wrong” containing

     the address: 19GrL5jnUkGmHXVcraB1Etv5rXCANeLWpq;




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   G. 0.15386283 Bitcoin seized from the cryptocurrency wallet with

      recovery seed where the first two words were “vault tail” containing

      the address: 1N8n71NcLEa1Evg8V8GA6quQwCZRfayCMC; and

   H. 60.00026227 Bitcoin seized from the cryptocurrency wallet with

      recovery seed where the first two words were “candy physical”

      containing the address: 391YkeB4M8r9b8htYmEYs363dar3turh8K.

Dated this 28th day of March, 2023.

                               Respectfully submitted,

                               JASON R. COODY
                               United States Attorney

                               /s/ Christopher M. Elsey
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